                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE



      UNITED STATES OF AMERICA                              )
                                                            )
                                                            )
      V.                                                    )            No.   2:19-CR-14
                                                            )
      XIAORONG YOU                                          )



                                          VERDICT FORM


             We, the members of the jury, find unanimously from all the evidence, as follows:



             1.      As to Count One, charging a violation of 18 U.S.C. § 1832(a)(5) (conspiracy

      to commit theft of trade secrets), we find the defendant:



                                NOT GUILTY

                     _L          GUILTY



             2.      As to Count Two, charging a violation of 18 U.S.C. § 1832(a)(3)

      (possession of a stolen trade secret belonging to Akzo-Nobel), we find the defendant:



                                NOT GUILTY

                         /      GUILTY




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             3.      As to Count Three, charging a violation of 18 U.S.C. § 1832(a)(3)

      (possession of a stolen trade secret belonging to BASF), we find the defendant:



                                NOT GUILTY

                          ✓     GUILTY



             4.      As to Count Four, charging a violation of 18 U.S.C. § 1832(a)(3)

      (possession of a stolen trade secret belonging to Dow Chemical), we find the defendant:



                                NOT GUILTY

                         ·✓     GUILTY



             5.      As to Count Five, charging a violation of 18 U.S.C. § 1832(a)(3)

      (possession of a stolen trade secret belonging to PPG), we find the defendant:



                                NOT GUILTY

                         ✓      GUILTY




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             6.      As to Count Six, charging a violation of 18 U.S.C. § l 832(a)(3) (possession

      of a stolen trade secret belonging to Sherwin Williams/ Valspar), we find the defendant:




                                 NOT GUILTY

                             ✓   GUILTY




             7.      As to Count Seven, charging a violation of 18 U.S.C. § 1832(a)(3)

      (possession of a stolen trade secret belonging to ToyoChem), we find the defendant:




                                 NOT GUILTY

                         /       GUILTY




             8.      As to Count Eight, charging a violation of 18 U.S.C. § 1832(a)(3)

      (possession of a stolen trade secret belonging to Eastman Chemical), we find the defendant:




                                 NOT GUILTY

                        ✓        GUILTY




                                                  3




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             9.     As to Count Nine, charging a violation of 18 U.S.C. § 1343 (wire fraud),

      we find the defendant:



                               NOT GUILTY

                    -~✓-       GUILTY



             10.    As to Count Ten, charging a violation of 18 U.S.C. § 1831 (a)(5) (conspiracy

      to commit economic espionage), we find the defendant:



                               NOT GUILTY

                    -~/ - GUILTY



             11.    As to Count Eleven, charging a violation of 18 U.S.C. § 1831(a)(3)

      (economic espionage), we find the defendant:



                               NOT GUILTY

                    _L         GUILTY



                                                  Foreperson:




                                                  Date:          LJ)zz l~t
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